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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
 PROTECT DEMOCRACY                                )
 PROJECT, INC.,                                   )
                                                  )
                Plaintiff,                        )
                                                  )            Civil Action No. 18-00506 APM
        v.                                        )
                                                  )
 U.S. DEPARTMENT OF                               )
 JUSTICE,                                         )
                                                  )
                Defendant.                        )
                                                  )

                                FIFTH JOINT STATUS REPORT

       The substantive issues in this case have been resolved. The only remaining issue is

attorney’s fees. The parties are hopeful that this issue will be resolved shortly. Given,

however, the possible lapse in funding for the Department of Justice, the parties propose to file a

joint status report by January 17, 2018, if the issue is not resolved. Plaintiff’s counsel has

authorized undersigned counsel to submit this report on behalf of Plaintiff.

                                              Respectfully submitted,

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                                              United States Attorney

                                              DANIEL F. VAN HORN, D.C. Bar #924092
                                              Chief, Civil Division

                                              BY: /s/ Fred E. Haynes
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